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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY
                                     (CAMDEN VICINAGE)

In re:                                               (Hon. Gloria M. Burns)

Shapes/Arch Holdings L.L.C.,                         Chapter 11
Shapes L.L.C., Delair L.L.C., Accu-Weld
L.L.C., and Ultra L.L.C.                             Lead Case No. 08-14631 (GMB)
                                                          (Jointly Administered)
                    Debtors


                                   CERTIFICATE OF SERVICE

         I, Jane L. Gorman, hereby certify that on this 9th day of June, 2008, I caused to be served

by United States mail a copy of the Motion of Generator Defendants for Relief from Automatic

Stay to Permit Dismissal of Debtors from Joint Defense Group upon all parties on the attached

Service List:



Dated: June 9, 2008                                   By: /s/ Jane L. Gorman
                                                              Jane L. Gorman




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                           In re: Shapes/Arch Holdings L.L.C., et al.
                Chapter 11/Lead Case No. 08-14631 (GMB) (Jointly Administered)

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